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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
        v.                                            :        Case No. 22-mj-189
                                                      :
KALEB DILLARD,                                        :
                                                      :
             Defendant.                               :



                                              ORDER

        Based upon the representations in the Joint Motion to Continue Status Hearing and to

Exclude Time Under the Speedy Trial Act, hereby incorporated, and upon consideration of the

entire record, it is hereby

        ORDERED that the Motion is GRANTED; it is further

ORDERED that the currently scheduled status hearing on February 2, 2023, be continued for

good cause to April 4, 2023, at 1:00 p.m.; and it is further

        ORDERED that the time between February 2, 2023, and April 4, 2023, shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that

the ends of justice served by the granting of such a continuance outweighs the best interests of

the public and the defendant in a speedy trial for the reasons stated in the Motion and based on

the factors described in 18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv), as a continuance will provide

the parties additional necessary time to review discovery, including individualized discovery
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related to defendant’s case as well as global discovery related to the January 6, 2021 riot at the

U.S. Capitol, additional time to discuss a potential pretrial resolution, and additional reasonable

time necessary to prepare for trial, taking into account the exercise of due diligence.

                                                                   Zia M. Faruqui
                                                                   2023.01.25 18:10:31
                                                                   -05'00'
                                              The Honorable Zia M. Faruqui
                                              United States Magistrate Judge




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